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                             Exhibit 3
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                    Arun Subramanian
                    Partner
                    New York
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Overview

New York Partner Arun Subramanian has successfully represented both plaintiffs and defendants in a
wide variety of high-stakes commercial cases. As one of the youngest partners at the firm, and one of the
youngest partners elected to the Firm’s Executive Committee (2015-2017), Arun has amassed the
litigation successes of an attorney with twice his experience.


Called an “agile thinker” with ability to able to “master complex problems and distill them to their essence
in writing and presentation to the court” by Assured Guaranty General Counsel and Managing Director, Ed
Newman, Arun has been actively involved in a variety of significant matters for Susman Godfrey. No
matter what the arena–patent, trade secrets, antitrust, False Claims Act breach of contract, or fraud
— Arun has a proven track record of success. This includes:

Ongoing success in the widely covered, high stakes antitrust matter, In re: Libor-based Financial
Instruments Antitrust Litigation,where Susman Godfrey lawyers, as co-lead counsel to the OTC plaintiffs,
have secured over half a billion dollars in settlements and recently won class certification* for the plaintiffs
they represent on their antitrust claims. (*subscription required)
Securing a complete jury victory in Tyler, Texas, on behalf of client Globus Medical in a patent
infringement case brought by Flexuspine, Inc., a local Tyler company. Arun served as co-lead counsel.
Read more here.
A landmark False Claims Act lawsuit against the Swiss drug manufacturer Novartis Pharmaceuticals
Corporation which settled for over $450 million – the highest award ever given in a whistleblower suit of
this nature. Learn more here.
The firm’s second victory before the Financial Industry Regulatory Authority (FINRA) on behalf of brokers
seeking to avoid clawback claims on bonuses. Read more about that case here.
A trailblazing victory for Assured Guaranty against Flagstar Bank in one of the first trials concerning
repurchases of faulty RMBS. Susman Godfrey secured a judgment for Assured Guaranty of over $100
million.
Successfully representing client Personalized Media Communications (“PMC”) as lead counsel in appeals,
arbitration proceedings, and in trial court. Arun’s team has secured PMC tens of millions of dollars in
settlements, and a judgment in PMC’s favor on the scope of the company’s major licenses. Click here for
an example.
A major class action win against New York City’s largest hop-on, hop-off sightseeing bus operator,
resulting in a $19 million settlement for Arun’s clients.
Arguing successful appeals in several major cases including:
BASCOM v. AT&T Corp., one of the first cases to uphold a patent challenged under the Supreme
Court’s Alice decision,
PMC v. Scientific Atlanta, where the Federal Circuit upheld the dismissal of a licensee’s breach of contract
action against client PMC, and

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Harris v. Fischer, where Arun was appointed as pro bono counsel for the plaintiff by the United States
Court of Appeals for the Second Circuit. The Court reversed the District Court’s dismissal of prisoner’s
Section 1983 case relating to a strip search of a female prisoner by male guards.

Outside of the courtroom, Arun contributes to the legal community by taking on pro bono cases and
serving on the Board of Directors for the Columbia Law Review.




Education
Case Western Reserve University,summa cum laude(B.A., Computer Science & English, 2001)
Columbia Law School (J.D. 2004)




Judicial Clerkship
Law Clerk to the Honorable Ruth Bader Ginsburg, Supreme Court of the United States, 2006-2007
Law Clerk to the Honorable Gerard E. Lynch, United States District Court for the Southern District of New
York, 2005-2006
Law Clerk to the Honorable Dennis Jacobs, United States Court of Appeals for the Second Circuit,
2004-2005




Notable Representations

COMPETITION

In a November 2015 False Claims lawsuit against Swiss drug manufacturer Novartis Pharmaceuticals
Corporation, Arun was a significant part of the legal team representing David M. Kester, a whistleblower
who claimed that Novartis defrauded the Medicare and Medicaid programs by illegally paying kickbacks to
pharmacies so that they would recommend to doctors and patients six of Novartis’ specialty medications.
The matter, Kester et al. v. Novartis Pharmaceuticals Corp, settled in November 2015 for $450 million.




REGULATORY AND BANKING

In August 2017, Arun was a crucial part of a team that inked a $130 million settlement with Citigroup,
which not only delivers compensation to the plaintiffs but provides for substantial cooperation from
Citibank in the litigation in the ongoing In re: Libor-based Financial Instruments Antitrust Litigation. An
earlier settlement with Barclays for $120 million and the bank’s agreement to cooperate in the ongoing
litigation received preliminary approval by the court in mid-2017. The largest and most recent settlement
is a $240 million deal with Deutsche Bank in early 2018. The plaintiffs also recently secured an additional
settlement with HSBC. The OTC plaintiffs, who recently achieved class certification on the class’s
antitrust claims, still have outstanding claims against other banks on the LIBOR panel, including
JPMorgan, Bank of America, and UBS AG.
In February 2015, Arun was an essential part of the Susman Godfrey team who prevailed on behalf of
clients Ileana Platt and Rafael Urquidi against claims by Barclays Capital that it was entitled to recover $4
million in bonuses paid to the two former brokers in its Miami office. Hundreds of note collection cases are
litigated every year that result in banks being awarded a full recovery, but for the second time in three
years, Susman Godfrey successfully defeated the claims before the FINRA panel.
In February 2013, Arun was co-lead attorney in the matter Assured Guaranty Municipal Corp v Flagstar

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Bank, FSB when it was ruled that Flagstar Bank had to pay Susman Godfrey client, bond insurer Assured
Guaranty Ltd., approximately $90 million plus contractual interest and attorneys’ fees and costs in a case
involving breach of contract by the originator and sponsor of residential mortgage-backed securities. This
ruling was a significant milestone in forcing the banks to honor the contractual commitments they made
and had long sought to avoid after the financial crisis.




INTELLECTUAL PROPERTY

In August 2016, Arun served as co-lead counsel to client Globus Medical in spinal insert patent
infringement litigation brought by Flexuspine, Inc., a local Tyler company. A jury in the U.S. District Court
for the Eastern District of Texas issued a defense verdict entirely in Globus Medical’s favor. Arun went on
to co-write an article for The Corporate Counselor(an ALM Publication) about their experience trying this
case out of their home state and give useful tips about winning ‘on the road.’ Click here to read that article,
page 9,
In June 2016, Arun served as lead counsel to client Bascom Global when the Federal Circuit revived a
patent infringement lawsuit brought by Susman Godfrey against AT&T. The ruling overturned a lower
court’s decision that the Bascom patent was ineligible when viewed under the test established by the U.S.
Supreme Court’s Alice decision. This is one of the first cases to uphold a software patent under Alice after
a string of losses doled out to plaintiffs by the appellate court.
In 2015 Arun was part of the team that won over $60 million in settlements for IP-portfolio holding
company Personalized Media Communications (“PMC”) in a patent infringement case filed against
Motorola, Inc., EchoStar Corp., and DISH Network Corp. Arun defeated numerous motions filed by the
defendants and third-party intervenors, including defendants’ petition filed with the U.S. Court of Appeals
for the Federal Circuit to transfer the case from Marshall, Texas to Delaware.




 BREACH OF CONTRACT

Achieved a total victory for client Wade Emory Johnson in a “David v. Goliath” breach of contract
arbitration against Transparent Value, LLC, a subsidiary of global bank Guggenheim Partners. The AAA
arbitration panel, after a four-day hearing, awarded Arun’s client damages and securities worth millions of
dollars(net of attorneys’ fees and expenses). The award was subsequently confirmed in full by the New
York State Supreme Court.
Successfully represented GenOn Energy, Inc. in a multi-million dollar breach of contract action against
NRG Retail, LLC filed in New York Supreme Court. The case was settled on confidential terms shortly
after Arun filed a pre-discovery motion for summary judgment against NRG.




CLASS ACTIONS

In May 2014, Arun was an integral part of the Susman Godfrey team who represented plaintiffs in an
antitrust suit against Coach USA and City Sights, competitors in New York City that formed a joint venture
accounting for 99 percent of New York City’s hop-on, hop-off sightseeing bus tours in re: NYC Bus Tour
Antitrust Litigation. Once Susman Godfrey was appointed as lead counsel in the consumer actions
(following a Department of Justice claim), a $19 million settlement was quickly reached in May 2014.
Given the increasing barriers to consumer class actions, this represented a significant victory for Susman
Godfrey.
Represented the plaintiffs in Clark v. AdvanceMe, Inc., a class action brought in Los Angeles federal court
challenging financial arrangements with retail merchants under California’s laws against usury. After the

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plaintiffs prevailed in a choice-of-law fight where AdvanceMe attempted to enforce a New York choice-of-
law provision in its contracts, on briefs authored primarily by Arun, the case was settled for approximately
$23.4 million in cash and other economic consideration.




PRO BONO

In March 2016, Arun was appointed by the Second Circuit to represent Audra Lynn Harris on her appeal
to that jurisdiction that her Fourth and Eighth Amendment rights were violated during a body cavity search
while she was incarcerated. Arun successfully argued on behalf of Harris which led to the Second Circuit
vacating the district court’s decision dismissing the case and remanded for further consideration.
Click here for more.




Honors and Distinctions
Named a “Rising Star” by the New York Law Journal (2018, ALM)
Recognized as a “Leading Patent Practitioner” in the U.S. by IAM 1000 – The World’s Leading Patent
Professionals 2018 (Globe Business Media Group)
Named to Benchmark Litigation’s 2018 “40 and Under Hot List” (Legal Media Group; Euromoney
Institutional Investor, 2017)
Named to Benchmark Litigation’s 2017 Under 40 Hot List (Legal Media Group; Euromoney Institutional
Investor, 2017)
Recognized as an “Up & Coming” Attorney in General Commercial Litigation by Chambers U.S. (2016 –
2018)
Executive Articles Editor, Columbia Law Review, Vol. 103
James Kent Scholar (2002-04)
Harlan Fiske Stone Scholar (2001)




Articles
“Winning on the Road” The Corporate Counselor(an ALM Publication); December 2016
“Will the Supreme Court Weigh in on Claim Construction Appeals?” IPWatchdog (March 2014).
Note, Assessing the Rights of IRU Holders in Uncertain Times, 103 Colum. L. Rev. 2094 (2003)




Professional Associations and Memberships

Bar Memberships

United States District Court, Eastern and Southern Districts of New York, United States Court of Appeals
for the Second Circuit, United States Court of Appeals for the Federal Circuit, State of New York, Eastern
District of Texas, Eastern District of Michigan, Supreme Court of the United States

Professional Associations

Board of Directors, The Columbia Law Review Association, Inc.
Pro Bono Panel, United States Court of Appeals for the Second Circuit



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